       Case 2:16-po-00011-JTR     ECF No. 87    filed 02/06/17   PageID.180 Page 1 of 2




 1
 2
 3
 4                        UNITED STATES DISTRICT COURT
 5                       EASTERN DISTRICT OF WASHINGTON

 6
     UNITED STATES OF AMERICA,                       No. 2:16-PO-0011-JTR-1
 7
 8                 Plaintiff,                        ORDER ACCEPTING GUILTY
 9                                                   PLEAS AND DEFERRED
                          v.                         PROSECUTION AGREEMENTS
10
     ANDREW STEVEN BERTRAN,
11
     ADAM FORD GLASER, TIMOTHY
12   JASON LOREEN, and NATHANIEL
13   JOSEPH CHAPMAN,

14                 Defendants.
15
16         THIS MATTER came before the Court on February 3, 2017, for a status
17   conference. Defendant Bertran was represented by Nicolas V. Vieth; Defendant
18   Glaser was represented by Carl Joseph Oreskovich; Defendant Loreen was
19   represented by Virginia Rockwood; and Defendant Chapman was represented by J.
20   Stephen Roberts, Jr. Assistant United States Attorney Earl Allan Hicks appeared
21   on behalf of the United States.
22         For the reasons discussed at the status conference, IT IS HEREBY
23   ORDERED:
24         1.     Defendants’ guilty pleas as to Counts 1 and 4 and the corresponding
25   deferred prosecution agreements are accepted. The Court finds Defendants have
26   entered pleas of guilty this date to Counts 1 and 4, and that their decision to plead
27   guilty is knowing and voluntary, without fear or coercion, and made after
28   consultation with counsel.

     ORDER . . . - 1
       Case 2:16-po-00011-JTR     ECF No. 87    filed 02/06/17   PageID.181 Page 2 of 2




 1         2.     Pending the resolution of this matter, Defendants shall be released on
 2   the previously-imposed conditions of pretrial release.
 3         3.     The Government shall submit a proposed order to the Court
 4   addressing the issue of the payment of restitution in the Eastern District of
 5   Washington as discussed in Defendants’ “Guilty Plea and Deferred Prosecution
 6   Agreement” by no later than the close of business on February 8, 2017.
 7         IT IS SO ORDERED. The District Court Executive is directed to enter this
 8   order and furnish copies to counsel.
 9         DATED February 6, 2017.
10
11                                _____________________________________
                                            JOHN T. RODGERS
12                                 UNITED STATES MAGISTRATE JUDGE
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     ORDER . . . - 2
